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 Hon. Hector Gonzalez
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East, Brooklyn, NY 11201
                Re:     NASL v. USSF and MLS, No. 1:17-cv-05495
 Dear Judge Gonzalez:
        I write in response to Defendants’ letter, filed earlier today (ECF No. 520) (“Letter”),
 requesting various measures limiting the scope of Dr. Williams’ testimony and NASL’s
 questioning about damages, while permitting Defendants to ask about certain topics and to submit
 a new report from their damages expert, Mr. Meyer. NASL responds regarding each of
 Defendants’ proposed measures below.
    I.      Defendants’ Request for Leave to Submit a New Report from Mr. Meyer
         NASL does not oppose Defendants’ request for leave to submit a new rebuttal report from
 Mr. Meyer, so long as (i) Defendants are required to call Mr. Meyer at least 48 hours after his new
 rebuttal report has been served, to allow NASL adequate time to prepare for cross-examination,
 and (ii) Mr. Meyer is prohibited from offering an affirmative opinion on the proper amount of
 damages in this case, given that he declined to do so earlier in the case, and NASL now would not
 have a fair opportunity to have Dr. Williams respond to any such opinion.
    II.     Defendants’ Request to Preclude NASL from Cross-Examining Mr. Meyer About
            Rebuttals to Dr. Williams’ Excluded Expert Opinions
         Defendants request the Court to “preclude Plaintiff from cross-examining Defendants’
 damages expert, Paul Meyer, on any rebuttals to Dr. Williams’ now-excluded prior expert
 opinions.” Ltr. 1. NASL would not object to this proposal, as long as Defendants similarly are
 prohibited from conducting questioning about Mr. Meyer’s past rebuttal opinions regarding Dr.
 Williams’ now-excluded opinions, or about Dr. Williams’ specific prior statements and opinions
 in response. If Defendants do conduct any such questioning of Dr. Williams or Mr. Meyer, then
 NASL should be entitled to a fair opportunity to respond with its own questioning on the same
 subject matters.
    III.    Defendants’ Request to Preclude Dr. Williams from Referencing Models That
            Corroborate His Baseline Damages Figures
        Defendants request the Court to “preclude Dr. Williams from referencing his valuation and
 benchmark models, as well as indicating generally that he created any other models that
 corroborate his ‘primary baseline’ damages figures.” Ltr. 1. NASL would not object to limiting
 Dr. Williams’ testimony about D1 damages to his primary baseline estimate, unless Defendants
 open the door to questioning about the valuation and benchmark models—for example, by using
 those models to try to show that “the wide range of Williams’ various models renders his opinions
 ‘inherently and irreconcilably contradictory,’” as Defendants attempted to do in their original
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 Daubert briefing. ECF No. 399 at 18. In that event, Dr. Williams must be permitted a fair
 opportunity to explain what those models were and that they in fact supported his D1 damages
 estimates.
         As for D2 damages, Defendants propose that if Dr. Williams “reference[s] his alternative
 models for Division 2 damages or even indicate[s] broadly that his other models corroborate the
 accuracy of his baseline calculations, Defendants should be permitted to elicit testimony from Dr.
 Williams that he has no such corroboration for his Division 1 calculations.” Ltr. 3. It is NASL’s
 understanding that Defendants’ reference to “other models” is a reference to Dr. Williams’
 valuation and benchmark models. If so, then NASL does not object to this proposal.
     IV.    Defendants’ Requests for Permission to Question Dr. Williams About Past
            “Errors,” While Barring Dr. Williams from Explaining That These Were In Fact
            “Conservative” Adjustments
         Defendants assert that Dr. Williams “conceded [that] he failed to” address certain issues in
 his original report, and that these were “errors that have necessitated revisions and corrections” in
 “numerous reports.” Ltr. 1. This is a serious mischaracterization of Dr. Williams’ work, as the
 Court recognized in its original Daubert decision.1 Dr. Williams has stood by the reliability of his
 original damages models, setting aside the two Court-ordered adjustments to address entry fees
 owed to Team Holdings and NASL’s remaining value as a D2 league after the D1 denial.2
         When Dr. Williams offered alternative damages estimates with adjustments to address
 critiques by defense experts, he did so to allow the jury to consider those estimates if it concluded
 that such adjustments were warranted.3 And, as the Court held in its Daubert Order, “there is
 nothing wrong with an expert accounting for criticism in a rebuttal or supplemental report that may
 or may not be accepted by the jury.” ECF No. 399 at 18.
         Now, Defendants seek leave to question Dr. Williams about these adjustments as supposed
 “errors,” while preventing Dr. Williams from explaining that they were in fact “conservative”
 adjustments that he believed were unnecessary. Ltr. 1, 3. This would be manifestly unfair and
 unbalanced. If Defendants seek to falsely portray Dr. Williams’ adjustments as “errors” that he
 “conceded” (Ltr. 1), then Dr. Williams should be permitted to state the truth in response—that
 those adjustments were conservative adjustments that he believed were unnecessary.




 1
   ECF No. 399 at 18 (“Defendants first contend that the wide range of Williams’ various models
 renders his opinions ‘inherently and irreconcilably contradictory.’ … [D]efendants
 mischaracterize Williams’ proffered opinions.”).
 2
   See, e.g., July 2, 2024 Rep. ¶ 7, ECF No. 441-2 (defense experts’ other critiques “are misplaced
 or unfounded, and none of them altered my opinion that my original report provides reasonable
 and reliable estimates of the NASL’s damages.”).
 3
   July 17, 2020 Rep. ¶ 13, ECF No. 309-3 (“While I still conclude that the three damages models
 provided in my original report and rebuttal report are reliable estimates of the damages resulting
 from the Division I and Division II decisions, I also offer an alternative after making the
 conservative adjustments referenced above.”).
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       V.      Testimony Regarding Outcomes of Prior Motion Practice Concerning Dr.
               Williams
         Given that Dr. Williams will not be able to testify about his prior opinions that were
 excluded by Court order, NASL respectfully submits that Defendants should be prohibited from
 stating or obtaining testimony that certain aspects of Dr. Williams’ analysis previously were
 excluded by Court order. Otherwise, Dr. Williams would be put in the impossible and unjust
 position of having to acknowledge past exclusions without being able to explain what he originally
 did and how he now has corrected those prior issues. This would be unduly prejudicial and be
 misleading and confusing for the jury under Rule 403.
         Should the Court deem such an order appropriate, NASL similarly would be willing to
 refrain from seeking testimony that the Court rejected most of Defendants’ and Mr. Meyer’s
 challenges to Dr. Williams in their Daubert briefing. ECF No. 399 at 27 (“Having dispensed with
 most of defendants’ challenges to Williams’s damages model, … Dr. Williams will be permitted
 to rely on his damages estimates as a general matter”).
                                                     Respectfully submitted,

                                               By:   s/Jeffrey L. Kessler
                                                     Jeffrey L. Kessler
 cc:        All counsel of record (via ECF)
